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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                            )       Case No. 18-66766
                                                   )
 BEAUTIFUL BROWS LLC,                              )       Chapter 11
                                                   )
             Debtor.                               )


                            MONTHLY OPERATING REPORT

       COME NOW, the above captioned debtor and debtor-in-possession (the “Debtor”) and

hereby files this monthly operating report for the period January 1, 2019 – January 31, 2019.

                                             JASON L. PETTIE, P.C.

                                              /s/ Jason L. Pettie
                                             Jason L. Pettie, Attorney for Debtor
                                             Georgia Bar # 574783
                                             P.O. Box 17936
                                             Atlanta, Georgia 30316
                                             (404) 638-5984
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Fill in this information to identify the case:               Document      Page 2 of 32
            Beautiful Brows LLC
Debtor Name __________________________________________________________________


                                        Northern District
United States Bankruptcy Court for the: _______  Districtofof________
                                                              Georgia

                                                                                                                      Check if this is an
Case number: 18-66766-jwc
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                 01/01/19-01/31/19
                      ___________                                                               Date report filed:    02/20/2019
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Salon & Spa
Line of business: ________________________                                                      NAISC code:           ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           Beautiful Brows LLC
                                             ____________________________________________

Original signature of responsible party      Saleem Delawalla
                                             ____________________________________________

Printed name of responsible party            ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔                
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔                
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔                
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔                
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                   
                                                                                                                                             ✔

    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔                
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔         
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔         
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       
                                                                                                                                   ✔         
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔         
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              _______________________________________________________                             18-66766-jwc
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                             
                                                                                                                                   ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                               
                                                                                                                                   ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                 38,082.46
                                                                                                                              $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             63,820.13
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           86,562.17
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                          +     -22,742.04
                                                                                                                              $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                 15,340.42
        Report this figure as the cash on hand at the beginning of the month on your next operating report.               =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                                 0.00
                                                                                                                              $ ____________

               (Exhibit E)




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              _______________________________________________________                                18-66766-jwc
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              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          15
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          13
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                          $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                         $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –   $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                                               =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                       $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________



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              _______________________________________________________                             18-66766-jwc
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




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Exhibit "D"
     Date Paid            Payee            Purpose       Amount
      1/4/2019   Mariam Abdalmalak          Payroll      326.66
      1/4/2019        Neelofer Ali          Payroll      582.14
      1/4/2019    Tahereh Dargazani         Payroll      311.27
      1/4/2019     Saleem Delawalla         Payroll      911.62
      1/4/2019    Saleema Delawalla         Payroll      911.62
      1/4/2019      Sameera Khatri          Payroll      582.14
      1/4/2019      Ashraf Khimani          Payroll       362.2
      1/4/2019         Lima Nisar           Payroll        320.4
      1/4/2019       Pareen Patel           Payroll      466.79
      1/4/2019      Suvasben Patel          Payroll      448.83
      1/4/2019      Sandhya Paudel          Payroll      287.97
      1/4/2019       Saraswati Rai          Payroll      426.18
      1/4/2019       Arunima Shah           Payroll      318.97
      1/4/2019        Ameris Bank        Loan Payment      4900
      1/4/2019   Shaheen & Company       Rent Payment    2394.53
      1/7/2019         Mall of GA        Rent Payment    7205.28
      1/7/2019     Simon Properties      Rent Payment   10954.69
     1/11/2019   Mariam Abdalmalak          Payroll      176.69
     1/11/2019        Neelofer Ali          Payroll      582.14
     1/11/2019    Tahereh Dargazani         Payroll      269.68
     1/11/2019     Saleem Delawalla         Payroll      911.63
     1/11/2019    Saleema Delawalla         Payroll      911.63
     1/11/2019      Sameera Khatri          Payroll      582.14
     1/11/2019      Ashraf Khimani          Payroll      344.61
     1/11/2019         Lima Nisar           Payroll      252.47
     1/11/2019       Pareen Patel           Payroll       339.41
     1/11/2019      Suvasben Patel          Payroll      307.23
     1/11/2019      Sandhya Paudel          Payroll      267.28
     1/11/2019       Saraswati Rai          Payroll      282.03
     1/11/2019       Arunima Shah           Payroll      225.49
     1/16/2019   Shaheen & Company       Rent Payment    1313.62
     1/18/2019     Dekalb Sanitation        Utility        150.7
     1/18/2019           Servitix           Utility        78.96
     1/18/2019        Neelofer Ali          Payroll       582.14
     1/18/2019    Tahereh Dargazani         Payroll       256.63
     1/18/2019     Saleem Delawalla         Payroll      911.62
     1/18/2019    Saleema Delawalla         Payroll      911.62
     1/18/2019      Sameera Khatri          Payroll       582.14
     1/18/2019      Ashraf Khimani          Payroll      311.36
     1/18/2019         Lima Nisar           Payroll       234.89
     1/18/2019       Pareen Patel           Payroll       321.16
     1/18/2019      Suvasben Patel          Payroll       437.87
     1/18/2019      Sandhya Paudel          Payroll      231.27
     1/18/2019       Saraswati Rai          Payroll       318.61
     1/18/2019       Arunima Shah           Payroll       291.88
     1/25/2019        Neelofer Ali          Payroll       582.14
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1/25/2019    Tahereh Dargazani         Payroll    279.38
1/25/2019    Saleema Delawalla         Payroll    911.62
1/25/2019      Ashraf Khimani          Payroll    363.88
1/25/2019        Lima Nisar            Payroll    212.21
1/25/2019       Pareen Patel           Payroll    390.67
1/25/2019      Suvasben Patel          Payroll    437.76
1/25/2019     Sandhya Paudel           Payroll    273.27
1/25/2019       Saraswati Rai          Payroll    326.18
1/25/2019      Arunima Shah            Payroll    234.85
                                                 48110.15
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Date Paid            Payee                    Purpose               Amount
 1/2/2019        BB Premier          Monthly Service Charge             24
 1/2/2019      Arbor Place Mall             Sanitation                34.13
 1/2/2019          Walmart                    Supplies                20.22
 1/2/2019        Hair & More                  Supplies                25.36
 1/2/2019        Sam's Club                   Supplies                 45.5
 1/3/2019              IRS                 Payroll Taxes            1673.75
 1/3/2019     Ramiro Alcantaro            Store Cleaning                50
 1/9/2019              IRS                 Payroll Taxes            1782.74
1/12/2019             ADT                     Security                44.58
1/14/2019            AT&T                       Utility              113.06
1/14/2019          Walmart                    Supplies                16.32
1/15/2019            GA ITS                     Taxes               1060.85
1/16/2019    Broadview Network                  Utility              130.85
1/16/2019              IRS                 Payroll Taxes            1561.86
1/17/2019      Arbor Place Mall           Rent Payment             19657.22
1/17/2019       Outgoing Wire             Service Charge                30
1/17/2019             IPFS                   Insurance               275.29
1/18/2019     Ramiro Alcantaro            Store Cleaning                50
1/18/2019       Georgia Power                   Utility              128.21
1/18/2019            AT&T                       Utility              177.67
1/22/2019       Sally's Beauty                Supplies                12.29
1/23/2019            GA ITS                   Sales Tax               76.35
1/24/2019     GA Dept of Labor                  Taxes                  8.39
1/24/2019              IRS                 Payroll Taxes            1561.74
1/24/2019             USPS                     Stamps                   35
1/28/2019          Comcast                      Utility              350.36
1/28/2019            AT&T                       Utility              119.47
1/28/2019        Sam's Club                   Supplies                86.73
1/28/2019          Walmart                    Supplies                17.95
1/30/2019              IRS                 Payroll Taxes            1592.53
1/31/2019              IRS                 Payroll Taxes               6.31
1/31/2019              IRS                 Payroll Taxes             347.05
1/31/2019        ACH Credit               Service Charge               9.52
1/31/2019         First Data             Credit Card Fees            538.74
1/31/2019         First Data         Merchant Cash Advance           507.88
1/31/2019         First Data             Credit Card Fees            714.90
1/31/2019         First Data         Merchant Cash Advance          3600.81
1/31/2019         First Data             Credit Card Fees            772.82
1/31/2019         First Data         Merchant Cash Advance           481.36
1/31/2019     Giftcard Redeem       MOG, TC, AP for January 2019       279
1/31/2019          Sales Tax        MOG, TC, AP for January 2019      16.37
1/31/2019     Ramiro Alcantaro            Store Cleaning                50
1/29/2019             Shell                      Fuel                 15.05
1/31/2019         Speedway                       Fuel                   36
1/31/2019        Parksimple                    Parking                   2
1/21/2019     Adobe Websales                  Software                24.99
1/18/2019         Speedway                       Fuel                   36
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1/17/2019           Parksimple                  Parking                4
1/15/2019           Speedway                     Fuel                 34
1/12/2019           Speedway                     Fuel                75.5
 1/8/2019           Speedway                     Fuel                 76
 1/4/2019           Parksimple                  Parking                2
 1/4/2019           Speedway                     Fuel                 33
1/10/2019           Kroger Fuel                  Fuel                26.3
                                                                   38452.02
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